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UNITED STATES DISTRICT COURT

 

SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION
UNITED STATES OF AMERICA * CASE NO, 3:21CR009
JUDGE WALTER H. RICE
Plaintiff *
Vv. *
DEFENDANT’S SENTENCING
IZAAK KEMP * MEMORANDUM
*
Defendant
* * * * * * Ed * 2 * *

Statement of Facts

Counsel concurs with the Government’s recitation of facts contained in their

Sentencing Memorandum.

Argument

 

Counsel is submitting this written Sentencing Memorandum in the hopes that any
sentence the court fashions will not include a period of confinement. There are no
guidelines that pertain to this offense so therefore the court is bound solely by the
Purposes and Principles of Sentencing contained in 18 USC section 3553(A). Generally

these principles are as follows:

(A)To reflect the seriousness of the offense; to promote respect for the law; and to
provide sufficient just punishment to the Defendant.

(B) To afford adequate deterrence to criminal conduct.

(C) Protection of the Public from further crimes of the Defendant.

(D)To provide the Defendant with needed Educational, Vocational, Medical care, or

other correctional treatment in the most effective manner.

 

 

 
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The first principle to address is punishment for punishment’s sake. These
principles of punishment can be achieved without incarcerating the Defendant. We ask
the court to follow the recommendations contained in the presentence report, except the
recommendation for incarceration. We ask the court to allow the defendant to perform
community service, seek mental health counseling and substance abuse counseling. These

recommendations can best be accomplished if the Defendant is not incarcerated.

We ask the court to take into consideration that the Defendant voluntarily pled
guilty, and he saved the government the time the expense and the cost of having to
prosecute this offense. In addition the Defendant has no prior record, whatsoever. Also he

has had no violations while on Presentence Release.

Government Counsel points out that the Defendant did not have a traumatic
upbringing. While other individuals may have had a more challenging childhood; the
Defendant’s upbringing is far from ideal. His father left him early on in life and has had
no contact with him. The Defendant’s Single Mother was trying to support the Defendant

and his autistic brother, causing the Defendant to grow up on his own.

The second principle involves individual as well as general deterrence.
Certainly having been charged and convicted of a federal offense has deterred Mr. Kemp
from further criminal action. He now has a federal conviction that will follow him for the
rest of his life. We ask the court not to impose a harsher sentence for the sake of general
deterrence. The people who know of this offense will see that the Defendant has lost his
job, has been publicly humiliated and has been convicted of a Federal Crime. Further the
Defendant suffers P.T.S.D. from the nature of his arrest. At least five different agencies
stormed the Defendant’s residence. Those agencies included the FBI, AF OSI, the Greene
County Sheriff's Office, the Fairborn Police Dept. and Airforce Military Police. Mr.
Kemp awoke to at least 10 agents in tactical gear in his house with an armored vehicle

outside. There also were drones flying overhead. Certainly the search could have been

ail seat ie conducted with a lesser show of force. The Defendant still has nightmares from this
& LUSARDI, LLC
ATTORNEYS AT LAW incident

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The third principle is to protect the public from further crimes of the Defendant.
The Defendant has lost his employment, his security clearance and can no longer have
access to classified information. So there is no need to protect the public from further

crimes.

Counsel would like the court to consider that the Defendant did not take this
material with the purpose of undermining the Federal Government’s Security. He made
no profit from taking these documents, and he did not attempt to convey these documents
to any entity with adverse interests to the United States of America. Had he done so he

certainly would’ve been charged with far more serious offenses.

Finally please consider the fact that the Defendant helps provide support for his
aging mother, and provides care for his autistic brother. These responsibilities placed on
Mr. Kemp were increased when his mother had to undergo emergency surgery earlier this

year.

In sum your Honor, we know that you will fashion a sentence that is right for

the United States Government, our Society, and Izaak Kemp.

Respectfully submitted,

COX, KELLER AND LUSARDI

Goel

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CERTIFICATE OF SERVICE

I hereby certify that on May 21, 2021 a copy of the foregoing was filed
electronically. Notice of this filing will be sent to all parties by operation of the Court’s
electronic filing system. Parties may access this filing through the Court’s system.

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~~ RONALD P. KELLER, 0016176

 

 

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FW: My son, Izaak Kemp

From: izaakkemp (izaakkemp@gqmail.com)
To:  cox_keller@yahoo.com

Date: Friday, May 21, 2021, 02:52 PM EDT

Ron,
Here is the sentencing letter from my mother, as we discussed.

Sent from my Verizon, Samsung Galaxy smartphone

a= Original message --------

From: Susan Kemp <slorkemp@yahoo.com>
Date: 5/5/21 7:19 PM (GMT-05:00)

To: Izaak Kemp <izaakkemp@gmail.com>
Subject: My son, Izaak Kemp

My son does not believe that anything | write in this letter will matter. | choose to disagree and believe he will be seen as

more than this one incident.
Izaak is a caring member of a three member family, a mom who is 75 and a brother who happens to have autism and

will turn 40 in June.

| have watched Izaak care about others no matter what their gifts or lack of. | have watched his curiosity and high
intelligence take him to earning his doctoral degree in electrical engineering. | have watched him care for his aging
mother while | have been sick. | have watched him work with his brother on many issues that have not been easy and
need a loving person to assist.

To date, he has lost his career, his house, and many future opportunities because of his actions, While | do not condone
or excuse my sons criminal behavior, | know in my heart that Izaak is not a risk to society but a person who is extremely
remorseful. Hopefully will be judged by his humanity and what he can contribute going forward, and not simply viewed

as another statistic on a court docket.

Respectfully,

Susan L Kemp
